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AO 106 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT                                C UR                  APR 0 5 2019
                                                                     for the
                                                   Southern District of California                   cu: HK l l:-, ; _; ; ~) 1 '·. : ..   •   :·Juin
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                                                                                                  sv                                                   :u rv
              In the Matter of the Search of                           )
         (Briefly describe the property to be searched                 )
          or identifY the person by name and address)                              Case No.
                                                                       )
    One Samsung cellular telephone, Model number
     SM-J400M , IMEl number 352820100506265
                                                                       )
                                                                       )                         19MJ1 376
                                                                       )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identifY the person or describe the
property to be searched and give its location):

 See Attachment A, incorporated herein by reference.
located in the             Southern
                   --------~------
                                                  District of              California
                                                                ------------------------
                                                                                                , there is now concealed (identifY the
person or describe the property to be seized):
 See Attachment B, incorporated herein by reference


            The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                 ~evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 ~property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

            The search is related to a violation of:
              Code Section                                                       Offense Description
       21   usc 952 & 960                          Importation of a Controlled Substance


            The application is based on these facts:
        See attached Affidavit of Special Agent Hector Perea

            ~ Continued on the attached sheet.
            0 Delayed notice of          days (give exact ending date if more than 30 days:                                      ) is requested
              under 18 U.S. C. § 31 03a, the basis of which is set forth on the attached sheet.



                                                                                        <-J~;gnatu"
                                                                                         Special Agent Hector Perea, HSI
                                                                                               Printed name and title

Sworn to befo<e mer;. signed in my p<esence.


Date    ~/tiL--, 2.olj
City and state: San Diego, CA                                                   Hon. Andrew G. Schopler, U.S. Magistrate Judge
                                                                                               Printed name and title
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                          AFFIDAVITIN SUPPORT OF APPLICATION
 1
                                FOR SEARCH WARRANT
 2
           I, Hector Perea, being duly sworn, hereby depose and state as follows:
 3
                                        INTRODUCTION
 4
           1.      I make this affidavit in support of an application for a search warrant in
 5
     furtherance of a narcotics smuggling investigation conducted by Department of Homeland
 6
     Security, Homeland Security Investigations Special Agents for the following target
 7
     properties:
 8              a. One Samsung cellular telephone with Model number SM-J337A and IMEI
 9
                   number 354638092027555 (Subject Telephone #1); and,
10
                b. One Samsung cellular telephone with Model number SM-J400M and IMEI
11
                   number 352820100506265 (Subject Telephone #2);
12 (collectively, "Subject Telephones"). The Subject Telephones were seized from Jose
13 Juan AYALA-Diaz when he entered the United States from Mexico at the cargo facility in
14 the Tecate, California Port of Entry. AYALA was driving a Ford F-250 truck hauling a
15 trailer of "concrete fountains," which contained approximately 157.22 kilograms (346.11
16 pounds) of marijuana. It is believed that the Subject Telephones were used by AYALA
17 during a drug smuggling event on March 15, 2019. He has been charged with importation
18 of a controlled substance (marijuana) in violation ofTitle 21, United States Code sections
19 952 and 960 in the Southern District of California in case number 19-mj-1098-NLS.
20         2.      Probable cause exists to believe that the Subject Telephones contain
21   evidence relating to violations of Title 21, United States Code Sections 952 & 960
22 (Importation of a Controlled Substance). The Subject Telephones are currently in the
23 possession of the Department of Homeland Security, Homeland Security Investigations,
24 Immigration and Customs Enforcement, 880 Front Street, Suite 3200, San Diego, CA

25 92101 (Seized Property Vault).
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27
     AFFIDAVIT IN SUPPORT OF APPLICATIONS
     FOR SEARCH WARRANTS
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 1         3.    Based upon my experience and training, and all the facts and opinions set forth
 2 in this Affidavit, I believe the items to be seized set forth in Attachment B (incorporated
 3 herein) will be found in the items to be searched as described in Attachment A
 4 (incorporated herein). These items may be or lead to: (1) evidence of the existence of drug
 5 trafficking in violation of Title 21, United States Code Sections 952, 960 & 963, and (2)
 6 property designed or intended for use, or which is or has been used as a means of
 7 committing criminal offenses.
 8                              TRAINING AND EXPERIENCE
 9         4.    I am a Special Agent ("SA") with the United States Department of Homeland
10 Security (DHS), Immigration and Customs Enforcement (ICE), Homeland Security
11 Investigations (HSI). I have been employed with HSI since March 2008 and currently
12 assigned to the San Diego Marine Task Force (MTF). The San Diego MTF is multi-agency
13 initiative aimed at identifying, targeting, and eliminating vulnerabilities to the security of
14 the United States related to the San Diego seaport complex, as well as the surrounding
15 transportation and maritime corridors. Prior to my assignment with MTF, I was assigned
16 to the Commercial Fraud Group (CFG) for approximately nine years. The CFG examines
17 cargo importations to investigate customs fraud and money laundering, among other
18 violations. Through this role, I personally examined over 1,000 cargo importation
19 documents and, among other responsibilities, analyzed those documents for discrepancies
20 indicative of fraud and money laundering.
21         5.    My training includes attending the Federal Law Enforcement Training Center
22 where I completed twenty-two (22) weeks ofHSI Special Agent Training Program and an
23 additional two (2) weeks of Advance Customs Fraud Training, a course devoted solely
24 devoted to customs fraud and money laundering. Through my training and experience, I
25 have gained extensive knowledge in detecting elements of criminal activity as it relates to
26 narcotics/currency smuggling, trade fraud, and money laundering. I have consulted or have
27
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 1 been the affiant of over 50 search warrants. I have made numerous arrests and have
 2 conducted several investigations of such crimes related to, narcotics, money laundering,
 3 and customs fraud using a variety of investigative techniques.
 4         6.    Based on my training and experience as a HSI Special Agent, I am familiar
 5 with the ways in which drug smugglers and traffickers conduct their business. Indeed,
 6 during the course of my duties I have (1) worked as a case agent, directing specific drug-
 7 related investigations; (2) worked as a surveillance agent who observed and recorded
 8 movements of individuals suspected oftrafficking drugs; (3) participated in the execution
 9 of search warrants related to drug investigations; (4) initiated and executed numerous
10 arrests for drug-related offenses, including possession with the intent to distribute; and (5)
11   interviewed criminal defendants, witnesses, and informants in furtherance of investigations
12 into the illegal smuggling and trafficking of controlled substances. Through these duties,
13 I have gained a working knowledge and insight into the operational habits of drug
14 smugglers and traffickers.
15         7.    In preparing this affidavit, I have conferred with other agents and law
16 enforcement personnel who are experienced in the area of narcotics investigations, and the
17 opinions stated below are shared by them. Further, I have personal knowledge of the
18 following facts, or have had them related to me by persons mentioned in this affidavit.
19         8.    Based upon my training and experience as a Special Agent, and consultations
20 with law enforcement officers experienced in controlled substance smuggling
21   investigations, and all the facts and opinions set forth in this affidavit, I submit the
22 following:
23               a. Drug smugglers will use cellular telephones because they are mobile and
24 they have instant access to telephone calls, text, WhatsApp and other texting applications,
25 the internet, video, social networking sites, and voice messages;
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     AFFIDAVIT IN SUPPORT OF APPLICATION        3
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 1               b. Drug smugglers will use WhatsApp and other encrypted texting
 2 applications on cellular telephones to communicate because they believe that these services
 3 insulate their communications from law enforcement;
 4               c. Drug smugglers will use cellular telephones because they are able to
 5 actively monitor the progress of their illegal cargo while the conveyance is in transit.
 6               d. Drug smugglers and their accomplices will use cellular telephones because
 7 they can easily arrange and/or determine what time their illegal cargo will arrive at
 8 predetermined locations.
 9               e. Drug smugglers will use cellular telephones to direct drivers to
10 synchronize an exact drop off and/or pick up time oftheir illegal cargo.
11               f. Drug smugglers will use cellular telephones to notify or warn their
12 accomplices of law enforcement activity including the presence and location of marked
13 and unmarked units, as well as the operational status of Border Patrol checkpoints.
14               g. Drug smugglers will use cellular telephones to communicate with each
15 other regarding payment and other financial arrangements relating to the transportation of
16 their illegal cargo.
17         9.    Based upon my training and expenence, and consultations with law
18 enforcement officers experienced in narcotics trafficking investigations, and all the facts
19 and opinions set forth in this affidavit, I know that cellular/mobile telephones can and often
20 do contain electronic records, phone logs and contacts, voice and text communications, and
21   data such as emails, text messages, chats and chat logs from various third-party
22 applications, photographs, audio files, videos, and location data. This information can be
23 stored within disks, memory cards, deleted data, remnant data, slack space, and temporary
24 or permanent files contained on or in the cellular/mobile telephone. Specifically, I know
25 based upon my training, education, and experience investigating these conspiracies that
26 searches of cellular/mobile telephones yields evidence:
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 1               a.     tending to identify attempts to import manJuana or some other
 2 controlled substance from Mexico into the United States;
 3               b.     tending to identify accounts, facilities, storage devices, and/or services-
 4 such as email addresses, IP addresses, and phone numbers-used to facilitate the smuggling
 5 of marijuana or some other controlled substance from Mexico into the United States;
 6               c.     tending to identify payment, payment methods, or other monetary
 7 transactions relating to importing controlled substances from Mexico to the United States;
 8               d.     tending to identify co-conspirators, criminal associates, or others
 9 involved in smuggling marijuana or some other controlled substance from Mexico into the
10 United States;
11               e.     relating to the purchase of vehicles to import marijuana or some other
12 controlled substance from Mexico into the United States;
13               f.     tending to identify travel to or presence at locations involved in the
14 smuggling of marijuana or some other controlled substance from Mexico into the United
15 States, such as stash houses, load houses, or delivery points;
16               g.     tending to identify the user of, or persons with control over or access
17 to, the subject telephone; and/or
18               h.     tending to place in context, identify the creator or recipient of, or
19 establish the time of creation or receipt of communications, records, or data involved in the
20 activities described above.
21         10.   The facts set forth in this affidavit are based on my own personal knowledge;
22 knowledge obtained from other individuals during my participation in this investigation,
23 including other law enforcement officers; interviews; my review of documents related to
24 this investigation; communications with others who have personal knowledge of the events
25 and circumstances described herein; conversations with other agents experienced in
26 controlled substance investigations, and information gained through my training and
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     AFFIDAVIT IN SUPPORT OF APPLICATION         5
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 1 expenence. All the dates, times, and amounts listed in this affidavit are approximate.
 2 Because this affidavit is submitted for the limited purpose of establishing probable cause
 3 in support of the application for search warrants, it does not set forth each and every fact
 4 that I or others have learned during the course ?f this investigation.
 5                         FACTS SUPPORTING PROBABLE CAUSE
 6         11.      On March 15, 2019, at approximately 9:13 a.m., Jose Juan AYALA-Diaz
 7 ("AYALA"), applied for entry into the United States through the cargo lanes of the Tecate,
 8 California Port of Entry ("POE"). AYALA was the driver, sole occupant, and registered
 9 owner of both the Ford F-250 with California license plates and the trailer, which also had
10 California license plates. In primary inspection, AYALA presented Customs and Border
11 Protection Officers ("CBPOs") with a manifest entry document for the shipment he was
12 bringing into the United States, which was described as "concrete fountains." According
13 to the entry document, the shipment was on behalf of AYALA, as the manufacturer of the
14 "concrete fountains." AYALA provided a negative declaration and was referred to
15 secondary inspection based on a system generated referral on the trailer.
16         12.      In secondary inspection, the trailer and its contents were screened by a
17 Narcotics Detector Dog ("NDD"). The NDD did not alert. CBPOs drilled one of the
18 concrete blocks, and upon pulling out the drill, noticed a green leafy substance. The NDD
19 then alerted to the concrete block. AYALA was placed under arrest. The Subject
20 Telephones were seized from AYALA, who was the sole occupant of the vehicle, pursuant
21 to his arrest.
22         13.      CBPOs broke apart the "concrete fountains" and found 48 packages, which
23 weighed approximately 157.22 kilograms (346.11 pounds). The contents of the packages
24 tested positive for marijuana.
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     AFFIDAVIT IN SUPPORT OF APPLICATION        6
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 1         14.   HSI Special Agents searched the F-250's cabin and found a folder with blank
 2 invoices from multiple artisan and furniture making companies located in Baja California,
 3 Mexico, including a companied allegedly called Cantera Tecate.
 4         15.   AYALA elected to waive his Miranda rights and make a statement. Among
 5 other things, AYALA stated that he is the owner of Ayala Transport, and has been the
 6 owner for about four years. AYALA said he picked up the shipment of fountains in the
 7 morning from Cantera Tecate, where his truck and trailer were loaded. AYALA said he
 8 was provided payment for the transport and a blank invoice prior to leaving. After filling
 9 out the invoice with the shipment information, he sent the invoice to an intermediary so the
10 shipment could be created. AYALA stated the shipment was destined for a residential
11 address in Huntington Park, California. AYALA denied knowledge of the marijuana.
12         16.   Based on my training and experience, it is suspicious that AYALA's entry
13 document listed himself as the manufacturer. Following his arrest, AYALA stated he was
14 the transporter. Through custom procedures, the transporter should not also be listed as the
15 manufacturer.
16         17.   Further, based on my training and experience, I am aware the manufacturers
17 will generally write the invoices and then provide them to the transporter and broker for
18 entrance into the United States. The transporter would not be issued a blank invoice. I am
19 also aware, based on my training and experience, that it is unusual for a transporter to
20 receive payment for a shipment prior to transporting the shipment.
21         18.   Based upon my experience and investigation in this ··case, I believe that
22 AYALA, as well as other persons as yet unknown, were involved in the trafficking of
23 marijuana or some other prohibited narcotics. Based on my training and experience, and
24 conversations with other law enforcement officers who investigate drug smuggling and
25 trafficking, I know that drug trafficking often require detailed and intricate planning to
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     AFFIDAVIT IN SUPPORT OF APPLICATION       7
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 1 successfully evade detection. Consequently, drug trafficking often involves planning and
 2 coordination for several months-this planning often occurs through mobile telephones.
 3         19.   Based upon my training and experience, I am also aware that drug traffickers
 4 will often develop a crossing history of crossing from the Mexico into the United States
 5 before crossing with a drug-laden vehicle or shipment. Border crossing records indicate
 6 that AYALA successfully crossed into the United States from Mexico approximately 127
 7 times through the Tecate POE and 71 times through the Tecate Truck Crossing POE over
 8 the last six months. Given these facts, I respectfully request permission to search the
 9 Subject Telephones for data beginning on September 16,2018, up to and including March
10 15,2019.
11         20.   Based on my experience investigating narcotics smugglers, I also believe that
12 AYALA may have used the Subject Telephones to coordinate with co-conspirators
13 regarding the importation and delivery of the marijuana, and to otherwise further this
14 conspiracy both inside and outside the United States. I also know that recent calls made
15 and received, telephone numbers, contact names, electronic mail (email) addresses,
16 appointment dates, text messages, messages sent via texting applications such as
17 WhatsApp, email messages, messages and posts from social networking sites like
18 Facebook, photographs, videos, and other digital information are stored in the memory of
19 cellular telephones which identify other persons involved in narcotics trafficking activities.
20         21.    Based upon my experience and training, consultation with other law
21 enforcement officers experienced in narcotics trafficking investigations, and all the facts
22 and opinions set forth in this affidavit, I believe that information relevant to the narcotics
23 smuggling activities of AYALA and his co-conspirators, such as telephone numbers, made
24 and received calls, contact names, electronic mail (email) addresses, appointment dates,
25 email messages, text messages, messages from texting applications like WhatsApp,
26 messages and posts from social networking sites like Facebook, photographs, videos, and
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 1 other digital information are stored in the memory of the cellular telephone described
 2 herein. Because the Subject Telephones have been in the custody of HSI since the date
 3 of AYALA's arrest, I believe that this information continues to be stored on the Subject
 4 Telephones.
 5                                SEARCH METHODOLOGY
 6         22.   It is not possible to determine, merely by knowing the cellular telephone's
 7 make, model and serial number, the nature and types of services to which the device is
 8 subscribed and the nature of the data stored on the device. Cellular devices today can be
 9 simple cellular telephones and text message devices, can include cameras, can serve as
10 personal digital assistants and have functions such as calendars and full address books and
11 can be mini-computers allowing for electronic mail services, web services and rudimentary
12 word processing. An increasing number of cellular service providers now allow for their
13 subscribers to access their device over the internet and remotely destroy all of the data
14 contained on the device. For that reason, the device may only be powered in a secure
15 environment or, if possible, started in "flight mode" which disables access to the network.
16 Unlike typical computers, many cellular telephones do not have hard drives or hard drive
17 equivalents and store information in volatile memory within the device or in memory cards
18 inserted into the device. Current technology provides some solutions for acquiring some
19 of the data stored in some cellular telephone models using forensic hardware and software.
20 Even if some of the stored information on the device may be acquired forensically, not all
21   of the data subject to seizure may be so acquired. For devices that are not subject to
22 forensic data acquisition or that have potentially relevant data stored that is not subject to
23 such acquisition, the examiner must inspect the device manually and record the process
24 and the results using digital photography. This process is time and labor intensive and may
25 take weeks or longer.
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 1          23.   Following the issuance of this warrant, I will collect the subject cellular
 2 telephone and subject it to analysis. All forensic analysis of the data contained within the
 3 telephone and its memory cards will employ search protocols directed exclusively to the
 4 identification and extraction of data within the scope of this warrant.
 5          24.   Based on the foregoing, identifying and extracting data subject to seizure
 6 pursuant to this warrant may require a range of data analysis techniques, including manual
 7 review, and, consequently, may take weeks or months. The personnel conducting the
 8 identification and extraction of data will complete the analysis within ninety (90) days of
 9 the date the warrant is signed, absent further application to this court.
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     AFFIDAVIT IN SUPPORT OF APPLICATION        10
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 1                                         CONCLUSION
 2         25.   Based on all of the facts and circumstances described above, there is probable
 3 cause to believe that AYALA used the Subject Telephones to facilitate the offense of
 4 importing marijuana. The Subject Telephones were likely used to facilitate the offense by
 5 transmitting and storing data, which constitutes evidence and instrumentalities of
 6 violations ofTitle 21, United States Code, Sections 952 & 960.
 7         26.   There is also probable cause to believe that evidence and instrumentalities of
 8 illegal activity committed by AYALA continues to exist on the Subject Telephones.
 9         27.    Based upon my experience and training, consultation with other agents in
10 narcotics investigations, consultation with other sources of information, and the facts set
11   forth herein, I know that the items to be seized set forth in Attachment B (incorporated
12 herein) are likely to be found in the property to be searched described in Attachment A
13 (incorporated herein). Therefore, I respectfully request that the Court issue a warrant
14 authorizing me, a Special Agent with Homeland Security Investigations, or another federal
15 law enforcement agent specially trained in digital evidence recovery, to search the items
16 described in Attachment A, and seize the items listed in Attachment B.
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                                ATTACHMENT A-2

                         PROPERTY TO BE SEARCHED

      One Samsung cellular telephone with Model number SM-J400M and IMEI number
352820100506265; currently in the possession of the Department of Homeland Security,
Homeland Security Investigations, 880 Front Street, Suite 3200, San Diego, CA 92101
(Seized Property Vault).
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                                  ATTACHMENT B

                                ITEMS TO BE SEIZED

       Authorization to search the Target Telephone described in Attachment A includes
the search of disks, memory cards, deleted data, remnant data, slack space, and temporary
or permanent files contained on or in the Target Telephone. The seizure and search of the
Target Telephone will be conducted in accordance with the affidavit submitted in support
of the warrant.

      The evidence to be seized from the Target Telephone will be electronic records,
communications, and data such as emails, text messages, messages from text messaging
applications like WhatsApp, messages and posts from social networking sites like
Facebook, photographs, audio files, videos, and location data, for the period of September
16, 2018, up to and including March 15, 2019:

      a.    tending to identify attempts to import marijuana or some other controlled
            substance from Mexico into the United States;

      b.    tending to identify accounts, facilities, storage devices, and/or services-such
            as email addresses, IP addresses, and phone numbers-used to facilitate the
            smuggling of marijuana or some other controlled substance from Mexico into
            the United States;

      c.    tending to identify payment, payment methods, or other monetary transactions
            relating to importing controlled substances from Mexico to the United States;

      d.    tending to identify co-conspirators, criminal associates, or others involved in
            smuggling marijuana or some other controlled substance from Mexico into
            the United States;

      e.    relating to the purchase of vehicles to import marijuana or some other
            controlled substance from Mexico into the United States;

      f.    tending to identify travel to or presence at locations involved in the smuggling
            of marijuana or some other controlled substance from Mexico into the United
            States, such as stash houses, load houses, or delivery points;

      g.    tending to identify the user of, or persons with control over or access to, the
            target telephone; and/or
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      h.     tending to place in context, identify the creator or recipient of, or establish the
             time of creation or receipt of communications, records, or data involved in the
             activities described above;

which are evidence of violations of Title 21, United States Code, Section 952 & 960.

The seizure and search of the cellular phone( s) shall follow the procedures outlined in the
supporting affidavit. Deleted data, remnant data, slack space, and temporary and
permanent files on the cellular phone(s) may be searched for the evidence above.
